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 5

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   United States of America
 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-115-TLN
12                                 Plaintiff,             STIPULATION REGARDING CONTINUANCE OF
                                                          SENTENCING; ORDER
13                           v.
                                                          DATE: January 12, 2017
14   AMY HER,                                             TIME: 9:30 a.m.
                                                          COURT: Hon. Troy L. Nunley
15                                 Defendant.
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for sentencing on January 12, 2017.

21          2.       By this stipulation, the parties now move to continue sentencing until August 3, 2017, at

22 9:30 a.m.

23          3.       The parties agree and stipulate that this continuance will provide both parties additional

24 time to prepare for sentencing.

25          IT IS SO STIPULATED.

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      STIPULATION AND ORDER REGARDING CONTINUANCE         1
             Case 2:15-cr-00115-TLN Document 153 Filed 01/04/17 Page 2 of 2

     Dated: January 3, 2017                               PHILLIP A. TALBERT
 1                                                        United States Attorney
 2
                                                          /s/ MATTHEW M. YELOVICH
 3                                                        MATTHEW M. YELOVICH
                                                          Assistant United States Attorney
 4

 5
     Dated: January 3, 2017                               /s/ DUSTIN JOHNSON
 6                                                        DUSTIN JOHNSON
 7                                                        Counsel for Defendant
                                                          AMY HER
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10                                                  ORDER

11         IT IS SO ORDERED this 3rd day of January, 2017.

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15                                                        Troy L. Nunley
                                                          United States District Judge
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      STIPULATION AND ORDER REGARDING CONTINUANCE     2
